              Case 2:22-cv-00871-CJC-GJS Document 5 Filed 02/08/22 Page 1 of 1 Page ID #:64
                                                                                                           JAS02,PROSE
                                       U.S. District Court
              United States District Court − District of New Mexico (Albuquerque)
                       CIVIL DOCKET FOR CASE #: 1:22−cv−00085−LF

Ramsell−Sanchez v. Trump et al                                           Date Filed: 02/07/2022
Assigned to:                                                             Jury Demand: None
Referred to: Magistrate Judge Laura Fashing                              Nature of Suit: 440 Civil Rights: Other
Cause: 42:1983 Civil Rights Act                                          Jurisdiction: Federal Question
Plaintiff
Krissy Ramsell−Sanchez                                    represented by Krissy Ramsell−Sanchez
                                                                         807 Roosevelt Ave.
                                                                         Grants, NM 87020
                                                                         Email: Janedoematters@gmail.com
                                                                         PRO SE


V.
Defendant
Donald Trump

Defendant
Dpt of Los Angeles Board of Supervisors

Defendant
Downey Police Department

Defendant
Officer 1−5

Defendant
Social Worker 1−5


 Date Filed        #   Docket Text

 02/07/2022       Ï1   COMPLAINT against All Defendants, filed by Krissy Ramsell−Sanchez. (jg) (Entered:
                       02/07/2022)

 02/07/2022       Ï2   MOTION to Proceed under 28 U.S.C. 1915 by Krissy Ramsell−Sanchez. (jg) (Entered: 02/07/2022)

 02/07/2022        Ï   United States Magistrate Judge Laura Fashing assigned. (jg) (Entered: 02/07/2022)

 02/07/2022       Ï3   PLEASE TAKE NOTICE that United States Magistrate Judge Laura Fashing has been assigned for
                       a 28 U.S.C. 1915 review. (jg)
                       [THIS IS A TEXT−ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.] (Entered: 02/07/2022)

 02/08/2022       Ï4   MEMORANDUM OPINION AND ORDER TRANSFERRING CASE TO THE CENTRAL
                       DISTRICT OF CALIFORNIA by Magistrate Judge Laura Fashing. (ccp) (Entered: 02/08/2022)
